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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


GEORGIA STATE CONFERENCE                  *
OF THE NAACP, as an organization,         *
et al.,                                   *
                                          *
              Plaintiffs,                 *
                                          *
      v.                                  *      1:21-CV-01259-ELR
                                          *
BRAD RAFFENSPERGER, in his                *
official capacity of the Secretary of     *
State for the State of Georgia, et al.,   *
                                          *
              Defendants.                 *
                                          *


SIXTH DISTRICT OF THE AFRICAN             *
METHODIST EPISCOPAL CHURCH,               *
a Georgia non-profit organization,        *
et al.,                                   *
                                          *
              Plaintiffs,                 *
                                          *
      v.                                  *      1:21-CV-01284-ELR
                                          *
BRIAN KEMP, Governor of the State         *
of Georgia, in his official capacity,     *
et al.,                                   *
                                          *
              Defendants.                 *
                                          *
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                                          _________

                                          ORDER
                                          _________

       Presently before the Court are Plaintiffs Georgia State Conference of the

NAACP; Georgia Coalition for the People’s Agenda, Inc.; League of Women Voters

of Georgia, Inc.; Galeo Latino Community Development Fund, Inc.; Common

Cause; and Lower Muskogee Creek Tribe’s “Complaint for Injunctive and

Declaratory Relief.” Compl. [Doc. 1] (Civil Action No. 1:21-CV-01259); and Sixth

District of the African Methodist Episcopal Church; Georgia Muslim Voter Project;

Women Watch Afrika; Latino Community Fund of Georgia; and Delta Sigma Theta

Sorority, Inc.’s Complaint. Compl. [Doc. 1] (Civil Action No. 1:21-CV-01284).

Based upon the Court’s review, the instant cases are closely related to an earlier-

filed matter currently pending before the Honorable Jean-Paul Boulee of this district,

as they involve many of the same Defendants and similar issues stemming from the

same underlying facts. 1

       To promote judicial economy and efficiency, the Court hereby transfers the

above-captioned cases to the Honorable Jean-Paul Boulee. The Court DIRECTS

the Clerk to reassign these cases (Civil Action No. 1:21-CV-01259 and Civil Action

No. 1:21-CV-01284) to Judge Boulee and further DIRECTS the Clerk to assign to


1
 The related case is: New Georgia Project et al. v. Raffensperger et al., Civil Action No. 1:21-CV-
01229-JPB, filed March 25, 2020.
                                                2
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the undersigned the next new case that is set to be assigned to Judge Boulee, in

accordance with the standard practices of this Court.

      SO ORDERED, this 31st day of March, 2021.



                                             ______________________
                                             Eleanor L. Ross
                                             United States District Judge
                                             Northern District of Georgia




                                         3
